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                                                 7
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                                                 8   OMNIVERSE ONE WORLD TELEVISION,
                                                     INC. and JASON M. DEMEO
                                                 9

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                                                                        UNITED STATES DISTRICT COURT
                                                11
                                                                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                12
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                                                13    PARAMOUNT PICTURES                    CASE NO. 2:19-cv-01156-MFW-ASx
                                                      CORPORATION; COLUMBIA PICTURES
                     B E V E R LY H I L L S




                                                14    INDUSTRIES, INC.; DISNEY              DEFENDANTS OMNIVERSE ONE
                                                                                            WORLD TELEVISION, INC. AND
                                                15    ENTERPRISES, INC.; TWENTIETH          JASON M. DEMEO’S ANSWER TO
                                                      CENTURY FOX FILM CORPORATION;         COMPLAINT
                                                16    WARNER BROS ENTERTAINMENT,
                                                      INC.; UNIVERSAL CITY STUDIOS          DEMAND FOR JURY TRIAL
                                                17    PRODUCTIONS LLLP; UNIVERSAL
                                                      TELEVISION LLC; and UNIVERSAL         Judge: Hon. Michael W. Fitzgerald
                                                18    CONTENT PRODUCTIONS LLC,
                                                19
                                                                        Plaintiffs,
                                                20         v.
                                                      OMNIVERSE ONE WORLD
                                                21    TELEVISION, INC.; JASON M. DEMEO,
                                                22                    Defendants.
                                                23

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                                              Case 2:19-cv-01156-MWF-AS Document 46 Filed 09/11/19 Page 2 of 16 Page ID #:391



                                                 1
                                                           COME NOW Defendants OMNIVERSE ONE WORLD TELEVISION, INC.
                                                 2
                                                     (“OMNIVERSE”)        and    JASON      M.     DEMEO      (“DEMEO”)       (collectively,
                                                 3
                                                     “Defendants”), by and through their counsel of record and pursuant to Federal Rule
                                                 4
                                                     of Civil Procedure 12, and hereby file this Amended Answer in response to Plaintiffs
                                                 5
                                                     PARAMOUNT           PICTURES       CORPORATION,          COLUMBIA         PICTURES
                                                 6
                                                     INDUSTRIES, INC., DISNEY ENTERPRISES, INC., TWENTIETH CENTURY
                                                 7
                                                     FOX FILM CORPORATION, WARNER BROS ENTERTAINMENT, INC.,
                                                 8
                                                     UNIVERSAL        CITY      STUDIOS       PRODUCTIONS             LLLP,   UNIVERSAL
                                                 9
                                                     TELEVISION LLC, and UNIVERSAL CONTENT PRODUCTIONS LLC’s
                                                10
                                                     (“Plaintiffs”) Complaint (“Complaint”) in this matter, as follows:
                                                11
                                                           Defendants deny any and all allegations in Plaintiffs’ Complaint, whether
                                                12
                                                     express or implied, that are not specifically admitted herein.
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                                                13
                     B E V E R LY H I L L S




                                                14
                                                                                          ANSWER
                                                15
                                                     I.    Introduction
                                                16
                                                     1.    Denied.
                                                17
                                                     2.    Defendants lack knowledge or information sufficient to form a belief about the
                                                18
                                                     truth of the allegations in Paragraph 2 of the Complaint and on that basis deny them.
                                                19
                                                     3.    Denied.
                                                20
                                                     4.    Denied.
                                                21
                                                     5.    Denied.
                                                22
                                                     II.   The Parties
                                                23
                                                     6.    Defendants lack knowledge or information sufficient to form a belief about the
                                                24
                                                     truth of the allegations in Paragraph 6 of the Complaint and on that basis denies them.
                                                25
                                                     7.    Defendants lack knowledge or information sufficient to form a belief about the
                                                26
                                                     truth of the allegations in Paragraph 7 of the Complaint and on that basis denies them.
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                                              Case 2:19-cv-01156-MWF-AS Document 46 Filed 09/11/19 Page 3 of 16 Page ID #:392



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                                                     8.      Defendants lack knowledge or information sufficient to form a belief about the
                                                 2
                                                     truth of the allegations in Paragraph 8 of the Complaint and on that basis denies them.
                                                 3
                                                     9.      Defendants lack knowledge or information sufficient to form a belief about the
                                                 4
                                                     truth of the allegations in Paragraph 9 of the Complaint and on that basis denies them.
                                                 5
                                                     10.     Defendants lack knowledge or information sufficient to form a belief about the
                                                 6
                                                     truth of the allegations in Paragraph 10 of the Complaint and on that basis denies
                                                 7
                                                     them.
                                                 8
                                                     11.     Defendants lack knowledge or information sufficient to form a belief about the
                                                 9
                                                     truth of the allegations in Paragraph 11 of the Complaint and on that basis denies
                                                10
                                                     them.
                                                11
                                                     12.     Defendants lack knowledge or information sufficient to form a belief about the
                                                12
                                                     truth of the allegations in Paragraph 12 of the Complaint and on that basis denies
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                                                13
                                                     them.
                     B E V E R LY H I L L S




                                                14
                                                     13.     Defendants lack knowledge or information sufficient to form a belief about the
                                                15
                                                     truth of the allegations in Paragraph 13 of the Complaint and on that basis denies
                                                16
                                                     them.
                                                17
                                                     14.     Denied
                                                18
                                                     15.     Omniverse admits it was an entity incorporated under the laws of the state of
                                                19
                                                     Delaware. Omniverse admits its status as a corporation incorporated under the laws
                                                20
                                                     of Delaware expired March 1, 2017. Omniverse admits it was registered as a
                                                21
                                                     corporation in the state of Missouri with principal place of business at 106 W, 11th
                                                22
                                                     Street, Suite 1700, Kansas City, Missouri, by President Jason M. Demeo. Omniverse
                                                23
                                                     admits its status as a corporation incorporated under the laws of Delaware expired on
                                                24
                                                     November 4, 2015.
                                                25
                                                     16.     Jason M. Demeo admits he was the CEO of Omniverse. Jason M. Demeo
                                                26
                                                     admits he registered Omniverse One World Television under the laws of Missouri as
                                                27
                                                                                                -2-
                                                28
                                              Case 2:19-cv-01156-MWF-AS Document 46 Filed 09/11/19 Page 4 of 16 Page ID #:393



                                                 1
                                                     a fictitious name with address at 233 SW Greenwich Drive, Lee’s Summit, Missouri
                                                 2
                                                     64082. Jason M. Demeo admits he resides in or around Kansas City, Missouri.
                                                 3
                                                     III.   Jurisdiction and Venue
                                                 4
                                                     17.    Defendants admit that Plaintiffs’ Complaint purports to recite an action under
                                                 5
                                                     federal law based upon copyright infringement under 28 U.S.C. §§ 1331, 1338(a),
                                                 6
                                                     and 17 U.S.C. § 501(b).
                                                 7
                                                     18.    Denied.
                                                 8
                                                     19.    Defendants admit to operating the websites www.omniversetv.com and
                                                 9
                                                     www.jasondemeo.com. The remainder of Paragraph 19 of Plaintiffs’ Complaint
                                                10
                                                     states no more than a legal conclusion to which no response is required.
                                                11
                                                     20.    Denied.
                                                12
                                                     21.    Defendants admit that Plaintiffs’ Complaint purports to recite proper venue in
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                                                13
                                                     this District under 28 U.S.C. §§ 1391(b), 1400(a).
                     B E V E R LY H I L L S




                                                14
                                                     IV.    Factual Overview
                                                15
                                                     22.    The allegations contained in Paragraph 22 are not factual allegations that call
                                                16
                                                     for a response from Defendants. To the extent that the allegations in Paragraph 22
                                                17
                                                     require a response, Defendants deny them.
                                                18
                                                     23.    The allegations contained in Paragraph 23 are not factual allegations that call
                                                19
                                                     for a response from Defendants. To the extent that the allegations in Paragraph 23
                                                20
                                                     require a response, Defendants deny them.
                                                21
                                                     24.    The allegations contained in Paragraph 24 are not factual allegations that call
                                                22
                                                     for a response from Defendants. To the extent that the allegations in Paragraph 24
                                                23
                                                     require a response, Defendants deny them.
                                                24
                                                     25.    The allegations contained in Paragraph 25 are not factual allegations that call
                                                25
                                                     for a response from Defendants. To the extent that the allegations in Paragraph 25
                                                26
                                                     require a response, Defendants deny them.
                                                27
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                                                28
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                                                 1
                                                     26.   Denied.
                                                 2
                                                     27.   Paragraph 27 of Plaintiffs’ Complaint states no more than a legal conclusion
                                                 3
                                                     to which no response is required. To the extent that the allegations in Paragraph 27
                                                 4
                                                     require a response, Defendants deny them.
                                                 5
                                                           A.     Plaintiffs’ Section: Omniverse Provides Copyrighted Works Under
                                                 6
                                                     False Pretenses
                                                 7
                                                     28.   Admitted.
                                                 8
                                                     29.   Paragraph 29 of Plaintiffs’ Complaint states no more than a legal conclusion
                                                 9
                                                     to which no response is required. Defendants admit Defendants label their partner
                                                10
                                                     downstream services “powered by Omniverse.” To the extent that the allegations in
                                                11
                                                     Paragraph 29 require a response, Defendants deny them.
                                                12
                                                     30.   Denied.
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                                                13
                                                     31.   Defendants admit that Plaintiffs assert quotations from the article “Are All of
                     B E V E R LY H I L L S




                                                14
                                                     These New Live TV Streaming Services for Cord Cutting Legal? We
                                                15
                                                     Take a Look” (Oct. 13, 2018), available at https://www.cordcuttersnews.com/areall-
                                                16
                                                     of-these-new-live-tv-streaming-services-for-cord-cutting-legal-we-take-a-look/.
                                                17
                                                     The allegations contained in Paragraph 31 are not factual allegations that call for a
                                                18
                                                     response from Defendants. To the extent that the allegations in Paragraph 31 require
                                                19
                                                     a response, Defendants deny them.
                                                20
                                                     32.   Denied.
                                                21
                                                           B.     Plaintiffs’ Section: “Powered by Omniverse” Services
                                                22
                                                     33.   Defendants lack knowledge or information sufficient to form a belief about the
                                                23
                                                     truth of the allegations in Paragraph 33 of the Complaint and on that basis deny them.
                                                24
                                                     The allegations contained in Paragraph 33 are not factual allegations that call for a
                                                25
                                                     response from Defendants. To the extent that the allegations in Paragraph 33 require
                                                26
                                                     a response, Defendants deny them.
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                                              Case 2:19-cv-01156-MWF-AS Document 46 Filed 09/11/19 Page 6 of 16 Page ID #:395



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                                                     34.   The allegations contained in Paragraph 34 are not factual allegations that call
                                                 2
                                                     for a response from Defendants. To the extent that the allegations in Paragraph 34
                                                 3
                                                     require a response, Defendants deny them.
                                                 4
                                                     35.   Defendants lack knowledge or information sufficient to form a belief about the
                                                 5
                                                     truth of the allegations in Paragraph 35 of the Complaint and on that basis deny them.
                                                 6
                                                     The allegations contained in Paragraph 35 are not factual allegations that call for a
                                                 7
                                                     response from Defendants. To the extent that the allegations in Paragraph 35 require
                                                 8
                                                     a response, Defendants deny them.
                                                 9
                                                     36.   Defendants lack knowledge or information sufficient to form a belief about the
                                                10
                                                     truth of the allegations in Paragraph 36 of the Complaint and on that basis deny them.
                                                11
                                                     The allegations contained in Paragraph 36 are not factual allegations that call for a
                                                12
                                                     response from Defendants. To the extent that the allegations in Paragraph 36 require
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                                                13
                                                     a response, Defendants deny them.
                     B E V E R LY H I L L S




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                                                     37.   The allegations contained in Paragraph 37 are not factual allegations that call
                                                15
                                                     for a response from Defendants. To the extent that the allegations in Paragraph 37
                                                16
                                                     require a response, Defendants deny them.
                                                17
                                                           C.     Plaintiffs’ Section: “SkyStream TV”
                                                18
                                                     38.   Paragraph 38 of Plaintiffs’ Complaint states no more than a legal conclusion
                                                19
                                                     to which no response is required.      Defendants lack knowledge or information
                                                20
                                                     sufficient to form a belief about the truth of the allegations in Paragraph 38 of the
                                                21
                                                     Complaint and on that basis deny them. The allegations contained in Paragraph 38
                                                22
                                                     are not factual allegations that call for a response from Defendants. To the extent
                                                23
                                                     that the allegations in Paragraph 38 require a response, Defendants deny them.
                                                24
                                                     39.   Defendants lack knowledge or information sufficient to form a belief about the
                                                25
                                                     truth of the allegations in Paragraph 39 of the Complaint and on that basis deny them.
                                                26
                                                     The allegations contained in Paragraph 39 are not factual allegations that call for a
                                                27
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                                                28
                                              Case 2:19-cv-01156-MWF-AS Document 46 Filed 09/11/19 Page 7 of 16 Page ID #:396



                                                 1
                                                     response from Defendants. To the extent that the allegations in Paragraph 39 require
                                                 2
                                                     a response, Defendants deny them.
                                                 3
                                                     40.   The allegations contained in Paragraph 40 are not factual allegations that call
                                                 4
                                                     for a response from Defendants. To the extent that the allegations in Paragraph 40
                                                 5
                                                     require a response, Defendants deny them.
                                                 6
                                                     41.   Defendants lack knowledge or information sufficient to form a belief about the
                                                 7
                                                     truth of the allegations in Paragraph 41 of the Complaint and on that basis deny them.
                                                 8
                                                     The allegations contained in Paragraph 41 are not factual allegations that call for a
                                                 9
                                                     response from Defendants. To the extent that the allegations in Paragraph 41 require
                                                10
                                                     a response, Defendants deny them.
                                                11
                                                     42.   Defendants lack knowledge or information sufficient to form a belief about the
                                                12
                                                     truth of the allegations in Paragraph 42 of the Complaint and on that basis deny them.
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                                                13
                                                     The allegations contained in Paragraph 42 are not factual allegations that call for a
                     B E V E R LY H I L L S




                                                14
                                                     response from Defendants. To the extent that the allegations in Paragraph 42 require
                                                15
                                                     a response, Defendants deny them.
                                                16
                                                           E.     Plaintiffs’ Section: “Flixon TV”
                                                17
                                                     43.   Defendants admit that “Flixon TV,” as a master distributor, provided licensed
                                                18
                                                     media content of which Defendants were distributors of.
                                                19
                                                     Defendants lack knowledge or information sufficient to form a belief about the truth
                                                20
                                                     of the allegations in Paragraph 43 of the Complaint and on that basis deny them. The
                                                21
                                                     allegations contained in Paragraph 43 are not factual allegations that call for a
                                                22
                                                     response from Defendants. To the extent that the allegations in Paragraph 43 require
                                                23
                                                     a response, Defendants deny them.
                                                24
                                                     44.   Defendants lack knowledge or information sufficient to form a belief about the
                                                25
                                                     truth of the allegations in Paragraph 44 of the Complaint and on that basis deny them.
                                                26
                                                     The allegations contained in Paragraph 44 are not factual allegations that call for a
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                                              Case 2:19-cv-01156-MWF-AS Document 46 Filed 09/11/19 Page 8 of 16 Page ID #:397



                                                 1
                                                     response from Defendants. To the extent that the allegations in Paragraph 44 require
                                                 2
                                                     a response, Defendants deny them.
                                                 3
                                                     45.   Defendants lack knowledge or information sufficient to form a belief about the
                                                 4
                                                     truth of the allegations in Paragraph 45 of the Complaint and on that basis deny them.
                                                 5
                                                     The remaining allegations contained in Paragraph 45 are not factual allegations that
                                                 6
                                                     call for a response from Defendants. To the extent that the allegations in Paragraph
                                                 7
                                                     45 require a response, Defendants deny them.
                                                 8
                                                     46.   Defendants lack knowledge or information sufficient to form a belief about the
                                                 9
                                                     truth of the allegations in Paragraph 46 of the Complaint and on that basis deny them.
                                                10
                                                     The remaining allegations contained in Paragraph 46 are not factual allegations that
                                                11
                                                     call for a response from Defendants. To the extent that the allegations in Paragraph
                                                12
                                                     46 require a response, Defendants deny them.
TROJAN LAW OFFICES




                                                13
                                                     47.   Defendants lack knowledge or information sufficient to form a belief about the
                     B E V E R LY H I L L S




                                                14
                                                     truth of the allegations in Paragraph 47 of the Complaint and on that basis deny them.
                                                15
                                                     The remaining allegations contained in Paragraph 47 are not factual allegations that
                                                16
                                                     call for a response from Defendants. To the extent that the allegations in Paragraph
                                                17
                                                     47 require a response, Defendants deny them.
                                                18
                                                           F.     Plaintiffs’ Section: “Silicon Dust’s HDHomeRun Service”
                                                19
                                                     48.   Defendants lack knowledge or information sufficient to form a belief about the
                                                20
                                                     truth of the allegations in Paragraph 48 of the Complaint and on that basis deny them.
                                                21
                                                     The remaining allegations contained in Paragraph 48 are not factual allegations that
                                                22
                                                     call for a response from Defendants. To the extent that the allegations in Paragraph
                                                23
                                                     48 require a response, Defendants deny them.
                                                24
                                                     49.   The allegations contained in Paragraph 49 are not factual allegations that call
                                                25
                                                     for a response from Defendants. To the extent that the allegations in Paragraph 49
                                                26
                                                     require a response, Defendants deny them.
                                                27
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                                                28
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                                                 1
                                                     50.   Defendants lack knowledge or information sufficient to form a belief about the
                                                 2
                                                     truth of the allegations in Paragraph 50 of the Complaint and on that basis deny them.
                                                 3
                                                     The remaining allegations contained in Paragraph 50 are not factual allegations that
                                                 4
                                                     call for a response from Defendants. To the extent that the allegations in Paragraph
                                                 5
                                                     50 require a response, Defendants deny them.
                                                 6
                                                     51.   The allegations contained in Paragraph 51 are not factual allegations that call
                                                 7
                                                     for a response from Defendants. To the extent that the allegations in Paragraph 51
                                                 8
                                                     require a response, Defendants deny them.
                                                 9
                                                     52.   Defendants lack knowledge or information sufficient to form a belief about the
                                                10
                                                     truth of the allegations in Paragraph 52 of the Complaint and on that basis deny them.
                                                11
                                                     53.   Defendants deny that third-party downstream series obtain infringing content
                                                12
                                                     from Defendants or that content marketed by Omniverse is unlicensed. The
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                                                13
                                                     remaining allegations contained in Paragraph 53 are not factual allegations that call
                     B E V E R LY H I L L S




                                                14
                                                     for a response from Defendants. To the extent that the allegations in Paragraph 53
                                                15
                                                     require a response, Defendants deny them.
                                                16
                                                           G.     Plaintiffs’ Section: “OmniBox”
                                                17
                                                     54.   Paragraph 54 of Plaintiffs’ Complaint states no more than a legal conclusion
                                                18
                                                     to which no response is required. The remaining allegations contained in Paragraph
                                                19
                                                     54 are not factual allegations that call for a response from Defendants. To the extent
                                                20
                                                     that the allegations in Paragraph 54 require a response, Defendants deny them.
                                                21
                                                     55.   Paragraph 55 of Plaintiffs’ Complaint states no more than a legal conclusion
                                                22
                                                     to which no response is required. The remaining allegations contained in Paragraph
                                                23
                                                     55 are not factual allegations that call for a response from Defendants. To the extent
                                                24
                                                     that the allegations in Paragraph 55 require a response, Defendants deny them.
                                                25
                                                           H.     Plaintiffs’ Section: “End Customers Receive Copyrighted Content
                                                26
                                                                  Through     Unauthorized     and    Infringing    Omniverse-Affiliated
                                                27
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                                                28
                                              Case 2:19-cv-01156-MWF-AS Document 46 Filed 09/11/19 Page 10 of 16 Page ID #:399



                                                 1
                                                                   Services”
                                                 2
                                                     56.     Paragraph 56 of Plaintiffs’ Complaint states no more than a legal conclusion
                                                 3
                                                     to which no response is required.       Defendants lack knowledge or information
                                                 4
                                                     sufficient to form a belief about the truth of the allegations in Paragraph 56 of the
                                                 5
                                                     Complaint and on that basis deny them. The remaining allegations contained in
                                                 6
                                                     Paragraph 56 are not factual allegations that call for a response from Defendants. To
                                                 7
                                                     the extent that the allegations in Paragraph 56 require a response, Defendants deny
                                                 8
                                                     them.
                                                 9
                                                     57.     Denied.
                                                10
                                                     58.     Paragraph 58 of Plaintiffs’ Complaint states no more than a legal conclusion
                                                11
                                                     to which no response is required.       Defendants lack knowledge or information
                                                12
                                                     sufficient to form a belief about the truth of the allegations in Paragraph 58 of the
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                                                13
                                                     Complaint and on that basis deny them. The remaining allegations contained in
                     B E V E R LY H I L L S




                                                14
                                                     Paragraph 58 are not factual allegations that call for a response from Defendants. To
                                                15
                                                     the extent that the allegations in Paragraph 58 require a response, Defendants deny
                                                16
                                                     them.
                                                17
                                                             I.    Plaintiffs’ Section: “Defendants’ Mass Infringement of the
                                                18
                                                                   Copyrighted Works Threatens Plaintiffs with Immediate and
                                                19
                                                                   Irreparable Harm”
                                                20
                                                     59.     Denied.
                                                21
                                                     60.     Denied.
                                                22
                                                     61.     Denied.
                                                23
                                                     62.     Denied.
                                                24
                                                     63.     The allegations contained in Paragraph 62 are not factual allegations that call
                                                25
                                                     for a response from Defendants. To the extent that the allegations in Paragraph 62
                                                26
                                                     require a response, Defendants deny them.
                                                27
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                                                28
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                                                 1

                                                 2                     PLAINTIFFS’ FIRST CAUSE OF ACTION
                                                 3                     (Copyright Infringement, 17 U.S.C. § 106(4))
                                                 4
                                                     64.   Defendants hereby incorporate their responses to Paragraphs 1 through 63 of
                                                 5
                                                     Plaintiffs’ Complaint, as stated hereinabove.
                                                 6
                                                     65.   Denied.
                                                 7
                                                     66.   Denied.
                                                 8
                                                     67.   Denied.
                                                 9
                                                     68.   Denied.
                                                10
                                                     69.   Denied.
                                                11
                                                     70.   Denied.
                                                12
                                                     71.   Denied.
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                                                13
                                                     72.   Denied.
                     B E V E R LY H I L L S




                                                14
                                                                      PLAINTIFFS’ SECOND CAUSE OF ACTION
                                                15
                                                           (Intentionally Inducing the Infringement of the Copyrighted Works,
                                                16
                                                                                  17 U.S.C. § 106(1) & (4))
                                                17
                                                     73.   Defendants hereby incorporate their responses to Paragraphs 1 through 63 of
                                                18
                                                     Plaintiffs’ Complaint, as stated hereinabove.
                                                19
                                                     74.   Denied.
                                                20
                                                     75.   Denied.
                                                21
                                                     76.   Denied.
                                                22
                                                     77.   Denied.
                                                23
                                                     78.   Denied.
                                                24
                                                     79.   Denied.
                                                25
                                                     80.   Denied.
                                                26
                                                     81.   Denied.
                                                27
                                                                                               -10-
                                                28
                                              Case 2:19-cv-01156-MWF-AS Document 46 Filed 09/11/19 Page 12 of 16 Page ID #:401



                                                 1
                                                     82.   Denied.
                                                 2
                                                     83.   Denied.
                                                 3                     PLAINTIFFS’ THIRD CAUSE OF ACTION
                                                 4                    (Direct Infringement of the ’183 Design Patent)
                                                 5
                                                     84.   Defendants hereby incorporate their responses to Paragraphs 1 through 63 of
                                                 6
                                                     Plaintiffs’ Complaint, as stated hereinabove.
                                                 7
                                                     85.   Denied.
                                                 8
                                                     86.   Denied.
                                                 9
                                                     87.   Denied.
                                                10
                                                     88.   Denied.
                                                11
                                                     89.   Denied.
                                                12
                                                     90.   Denied.
TROJAN LAW OFFICES




                                                13
                                                     91.   Denied.
                     B E V E R LY H I L L S




                                                14
                                                     92.   Denied.
                                                15
                                                     93.   Denied.
                                                16
                                                     94.   Denied.
                                                17
                                                                                   PRAYER OF RELIEF
                                                18
                                                           Defendants incorporate by reference all preceding paragraphs of this Answer
                                                19
                                                     as if fully set forth herein. Defendants deny any and all allegations alleged in the
                                                20
                                                     Complaint. Defendants deny all allegations that Plaintiffs are entitled to any relief
                                                21
                                                     requested in the Complaints’ Prayer for Relief, or any other relief.
                                                22
                                                           1.     Defendants deny the allegations in this paragraph of the Complaint.
                                                23
                                                           2.     Defendants deny the allegations in this paragraph of the Complaint.
                                                24
                                                           3.     Defendants deny the allegations in this paragraph of the Complaint.
                                                25
                                                           4.     Defendants deny the allegations in this paragraph of the Complaint.
                                                26
                                                           5.     Defendants deny the allegations in this paragraph of the Complaint.
                                                27
                                                                                               -11-
                                                28
                                              Case 2:19-cv-01156-MWF-AS Document 46 Filed 09/11/19 Page 13 of 16 Page ID #:402



                                                 1
                                                                                AFFIRMATIVE DEFENSES
                                                 2
                                                                                  First Affirmative Defense
                                                 3
                                                                                   (Failure to State a Claim)
                                                 4
                                                           Plaintiffs’ Complaint fails to state a claim against Defendants upon which
                                                 5
                                                     relief may be granted.
                                                 6
                                                                                 Second Affirmative Defense
                                                 7
                                                                               (Alleged Copyrights are Invalid)
                                                 8
                                                            On information or belief, Plaintiff’s alleged copyrights are not protectable as
                                                 9
                                                     copyrights because the alleged copyrights are invalid.
                                                10
                                                                                  Third Affirmative Defense
                                                11
                                                                                       (License or Assignment)
                                                12
                                                           The claims made in the Complaint are barred, in whole or in part, because
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                                                13
                                                     Defendants have or operated under a valid license whether an implied license, an oral
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                                                14
                                                     license, a written license, or otherwise an assignment and thus did not infringe
                                                15
                                                     Plaintiffs’ alleged copyrights.
                                                16
                                                                                 Fourth Affirmative Defense
                                                17
                                                                                             (Fair Use)
                                                18
                                                           The claims made in the Complaint are barred, in whole or in part, because
                                                19
                                                     Defendants’ actions fall under the fair use doctrine and thus did not infringe
                                                20
                                                     Plaintiffs’ alleged copyrights.
                                                21
                                                                                  Fifth Affirmative Defense
                                                22
                                                                                          (Joint Ownership)
                                                23
                                                           The claims made in the Complaint are barred, in whole or in part, because
                                                24
                                                     Plaintiffs’ alleged copyrights were jointly owned by Defendants.
                                                25
                                                                                  Sixth Affirmative Defense
                                                26                               (No Copyright Infringement)
                                                27
                                                                                                 -12-
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                                                 1
                                                            Defendants have not infringed Plaintiff’s alleged copyrights.
                                                 2
                                                                                 Seventh Affirmative Defense
                                                 3
                                                                                        (Third-Party Use)
                                                 4
                                                            The claims made in the Complaint are barred, in whole or in part, by reason of
                                                 5
                                                     other parties’ use of the copyrights at issue.
                                                 6
                                                                                  Eighth Affirmative Defense
                                                 7
                                                                            (Unknowing or Innocent Infringement)
                                                 8
                                                            The claims made in the Complaint are barred, in whole or in part, because
                                                 9
                                                     Defendants’ alleged infringement of Plaintiffs’ copyrights was unknowing or
                                                10
                                                     innocent infringement.
                                                11
                                                                                  Ninth Affirmative Defense
                                                12
                                                                              (The Works are in the Public Domain)
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                                                13
                                                            The claims made in the Complaint are barred, in whole or in part, because
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                                                14
                                                     Plaintiff’s alleged copyrights are works within the Public Domain.
                                                15
                                                                                  Tenth Affirmative Defense
                                                16
                                                                                           (Causation)
                                                17
                                                            Plaintiff’s claims against Defendants are barred in that its alleged damages
                                                18
                                                     were caused by or are the result of actions or non-actions by other parties not named
                                                19
                                                     in this lawsuit.
                                                20
                                                                                 Eleventh Affirmative Defense
                                                21
                                                                                      (Failure to Mitigate)
                                                22
                                                            Plaintiff is barred from asserting some or all of the damages claimed in the
                                                23
                                                     Complaint, as they failed to take reasonable steps to mitigate their damages.
                                                24
                                                                                 Twelfth Affirmative Defense
                                                25
                                                                                      (Plaintiff’s Actions)
                                                26
                                                            Plaintiff is not entitled to the damages asserted in their Complaint because
                                                27
                                                                                                -13-
                                                28
                                              Case 2:19-cv-01156-MWF-AS Document 46 Filed 09/11/19 Page 15 of 16 Page ID #:404



                                                 1
                                                     those damages were proximately caused, in whole or in part, by Plaintiff’s own
                                                 2
                                                     conduct, actions, and/or inactions, and/or the conduct, actions, and/or inactions of
                                                 3
                                                     agents, persons or entities in Plaintiff’s control.
                                                 4
                                                                                Thirteenth Affirmative Defense
                                                 5
                                                                                           (No Notice)
                                                 6
                                                           Plaintiff’s alleged damages are limited because they have not satisfied the
                                                 7
                                                     requirements of 35 U.S.C. § 287.
                                                 8
                                                                                Fourteenth Affirmative Defense
                                                 9
                                                                                    (Limitation on Damages)
                                                10
                                                           Plaintiff’s claims for costs and/or damages are barred, in whole or in part, by
                                                11
                                                     35 U.S.C. §§ 41(b), 286, 287 and/or 288 and 37 C.F.R. § 1.362.
                                                12
                                                                                 Fifteenth Affirmative Defense
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                                                13
                                                                                     (Speculative Damages)
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                                                14
                                                           Based on the allegations in Complaint, Plaintiff’s alleged damages are
                                                15
                                                     speculative and are therefore barred.
                                                16
                                                                                 Sixteenth Affirmative Defense
                                                17
                                                                          (No Enhanced Damages or Attorney’s Fees)
                                                18
                                                           Plaintiff is not entitled to an award of any punitive, exemplary, enhanced, or
                                                19
                                                     multiple damages or any recovery of its attorney fees because Defendants did not
                                                20
                                                     engage in any willful, egregious, malicious, fraudulent, deliberate, or intentional
                                                21
                                                     conduct or any conduct that would render this case “exceptional” under, e.g., 35
                                                22
                                                     U.S.C. §§ 284 or 285 to justify any such award or recovery.
                                                23
                                                                               Seventeenth Affirmative Defense
                                                24
                                                                    (Expiration of the Statute of Limitation on Enforcement)
                                                25
                                                           Defendants assert that recovery in this case is barred by the statute of
                                                26
                                                     limitations.
                                                27
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                                                 1
                                                                                 Reservation of Rights
                                                 2
                                                           Answering Defendants reserve the right to assert additional Affirmative
                                                 3
                                                     Defenses as discovery progresses in this litigation and new information becomes
                                                 4
                                                     available.
                                                 5

                                                 6                                             Respectfully Submitted,
                                                 7                                             TROJAN LAW OFFICES
                                                 8                                             by
                                                 9

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                                                11   September 11, 2019                        /s/R. Joseph Trojan
                                                                                               R. Joseph Trojan
                                                12                                             Attorneys for Defendants,
                                                                                               Omniverse One World Television, Inc.
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                                                13
                                                                                               and Jason M. Demeo
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